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         EXHIBIT 45
        to the Declaration of Qifan Huang
       PUBLIC VERSION - REDACTED
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          A              B            C       D          E          F         G          H               I      J         K          L          M         N      O           P                  Q
1    Ads/AVOD (figures in $ millions)
2
3                   2017-01-01 2017-02-01 2017-03-01 2017-04-01 2017-05-01 2017-06-01 2017-07-01 2017-08-01 2017-09-01 2017-10-01 2017-11-01 2017-12-01 FY2017       CAC (Content Acquisition Costs)
4    Revenue                                                                                                                                                         COS (Cost of Sales)
5    CAC                                                                                                                                                             Infra (Infrastructure Costs)
6    COS + Infra                                                                                                                                                     OpEx (Operating Expenses)
7    Gross Margin
8    OpEx
9    Op. Inc
10
11
12                  2018-01-01 2018-02-01 2018-03-01 2018-04-01 2018-05-01 2018-06-01 2018-07-01 2018-08-01 2018-09-01 2018-10-01 2018-11-01 2018-12-01 FY2018
13 Revenue
14 CAC
15   COS + Infra
16   Gross Margin
17   OpEx
18   Op. Inc
19
20
21                  2019-01-01 2019-02-01 2019-03-01 2019-04-01 2019-05-01 2019-06-01 2019-07-01 2019-08-01 2019-09-01 2019-10-01 2019-11-01 2019-12-01 FY2019
22 Revenue
23 CAC
24 COS + Infra
25 Gross Margin
26 OpEx
27 Op. Inc
28
29
30                  2020-01-01 2020-02-01 2020-03-01 2020-04-01 2020-05-01 2020-06-01 2020-07-01 2020-08-01 2020-09-01 2020-10-01 2020-11-01 2020-12-01 FY2020
31 Revenue
32 CAC
33 COS + Infra
34 Gross Margin
35 OpEx
36 Op. Inc




                                                                                                                                                                                 PLAINTIFFS'
                                                                                                                                                                                   EXHIBIT
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